  Case 1:20-cv-00091-MJT Document 8 Filed 06/23/21 Page 1 of 1 PageID #: 28


                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION


UNITED STATES and STATE OF TEXAS,                  §
ex rel. FRANK ADOMITIS,                            §
                                                   §
          Plaintiffs,                              §
                                                   §
v.                                                 §      CIVIL ACTION NO. 1:20-CV-00091
                                                   §
                                                            JUDGE MICHAEL TRUNCALE
LIBERTY COUNTY HOSPITAL                            §
DISTRICT NO. 1, d/b/a LIBERTY-                     §
DAYTON REGIONAL MEDICAL                            §
CENTER,                                            §
                                                   §
          Defendant.                               §

                        ORDER GRANTING MOTION OF DISMISSAL

        Before the Court is Relator Frank Adomitis’ Motion of Dismissal. [Dkt. 7]. Relator seeks

a dismissal without prejudice as to all his claims against defendant in this matter. After considering

relator’s motion and reviewing all pleadings on file and all applicable law, the Court grants the

same.

        It is therefore ORDERED that Relator Frank Adomitis’ Motion of Dismissal [Dkt. 7] is

hereby GRANTED. Relator’s claims against defendant are hereby DISMISSED WITHOUT

PREJUDICE.

        It is further ORDERED that this dismissal is limited as set forth above and shall have no

application to the United States’ claims against defendant in this matter.

                                  SIGNED this 23rd day of June, 2021.




                                                                  ____________________________
                                                                  Michael J. Truncale
                                                                  United States District Judge
